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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

STATE OF TEXAS, et al,          §
    Plaintiffs,                 §
v.                              §
                                           CIVIL ACTION NO.2:24-CV-00089-Z
                                §
BUREAU OF ALCOHOL, TOBACCO, §
FIREARMS AND EXPLOSIVES, et al, §
    Defendants.                 §

         PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR PRELIMINARY RELIEF




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    I.   Plaintiffs Have Standing and Will Suffer Irreparable Harm.

         A. Texas Has Standing and Faces Irreparable Harm.

         Monetary harm is an injury that confers standing. See Tyler v. Hennepin County, 598 U. S.

631, 636 (2023); TransUnion, LLC v. Ramirez, 141 S. Ct. 2190 at 2204 (2021). Texas stands to

suffer direct harm from the Rule in the form of a pocketbook injury. A pocketbook injury “is a

prototypical form of injury in fact.” Collins v. Yellen, 141 S. Ct. 1761, 1779 (2021). For standing

purposes, the exact cost is irrelevant. Texas v. U.S., 50 F.4th 498, 518 (5th Cir. 2022); see Texas v.

United States (DAPA), 809 F.3d 134, 155 (5th Cir. 2015) (holding that Texas established injury in

fact without precisely quantifying the costs of issuing driver’s licenses to DAPA beneficiaries).

“[A] loss of even a small amount of money is ordinarily an ‘injury.’” Czyzewski v. Jevic Holding

Corp., 580 U.S. 451, 137 S. Ct. 973, 983, 197 L.Ed.2d 398 (2017).

         The Rule is expected to reduce the amount of people who sell firearms, period. The Rule

estimates that its implementation will reduce gun sales. See 89 Fed. Reg. 29,054 (contemplating

10% of currently unlicensed dealers leaving the market altogether). Texas has a sales tax that applies

to the sale of firearms at gun shows. Between the effective date of the Rule and just July 2024,

Texas has 58 gun shows calendared. 1 Texas collects 6.25 percent state tax on taxable items sold—

including guns sold at gun shows. 2 Unlicensed dealers exiting the market will inevitably result in

less gun sales, and thus less sales tax collected by the state. See generally Exhibit A, Declaration of

Murl E. Miller. This is not speculative. The ATF has told us as much. Fed. Reg. 29,054 (10% of

unlicensed sellers likely to be either “unwilling or unable to become licensed as an FFL as a result



1
 https://gunshowtrader.com/gunshows/texas-gun-shows/.
2
 https://comptroller.texas.gov/taxes/publications/96-
211.php#:~:text=You%20must%20collect%20sales%20or,tax%20on%20your%20taxable%20sales.




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of the [R]ule”) (emphasis added).

         In determining whether costs are irreparable, the key inquiry is “not so much the magnitude

but the irreparability.” Texas v. EPA, 829 F.3d at 433–34 (quoting Enter. Int’l Inc. v. Corporacion

Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985)). Even purely economic costs may

count as irreparable harm “where they cannot be recovered ‘in the ordinary course of litigation.’ ”

Id. at 434 & n.41 (quoting Wis. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)); see also, e.g.,

In re NTE Conn., LLC, 26 F.4th 980, 990– 91 (D.C. Cir. 2022) (“We have recognized that financial

injury can be irreparable where no adequate compensatory or other corrective relief will be available

at a later date, in the ordinary course of litigation.” (cleaned up)).

         Without a stay of the Rule, Texas will suffer irreparable harm from the illegal Rule. The

remedy of damages against the United States is unavailable to Texas, so the Rule’s effect on the

State sales tax revenue—both on items like tickets to gun shows and the firearms sold at those

shows—“are unrecoverable because of the government-defendant’s sovereign immunity from

monetary damages. . . .” Natl. Rifle Assn. of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms and

Explosives, No. 3:23-CV-1471-L, 2024 WL 1349307, at *9 (N.D. Tex. Mar. 29, 2024).

    A.          B.      Tormey Has Standing and Faces Irreparable Harm.

         For starters, Defendants misrepresent the standard for pre-enforcement challenges,

claiming Plaintiffs “must demonstrate … a real and immediate threat of repeated injury in the

future,” as if to say Plaintiffs cannot bring a pre-enforcement challenge at all. Opp. 13 (quoting

James v. Hegar, 86 F.4th 1076, 1081 (5th Cir. 2023) (emphasis added)). But James concerned claims

for prospective relief based solely on past injuries, 86 F.4th at 1082, quoting “repeated injury”

language from Soc’y of Separationists, Inc. v. Herman, 959 F.2d 1283, 1285 (5th Cir. 1992), which

clearly limited Defendants’ cherrypicked standard to “obtain[ing] equitable relief for past wrongs.”



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In contrast, it is black-letter law that a person “need not[] … disobey the law and await his

prosecution before challenging its unconstitutionality.” Peyote Way Church of God, Inc. v. Smith,

742 F.2d 193, 198 (5th Cir. 1984). 3 Rather, one need only “show a ‘genuine threat’ of enforcement,”

and “even a ‘public[] announce[ment]’ to enforce a statute and one prior proceeding are sufficient

for standing.” BRAIDWOOD MANAGEMENT, INCORPORATED v. EEOC, 70 F.4th 914, 926,

928 (5th Cir. 2023) (citation omitted, alterations in original, emphasis added). Of course,

Defendants have announced their intent to enforce their new Rule and the GCA generally. And

although entirely unnecessary, Plaintiffs have identified one prior enforcement proceeding

targeting conduct falling squarely within the Rule’s ambit. See Declaration of Erich M. Pratt ¶¶32-

40, ECF #1-2 (detailing the prosecution, GOA defense, and repeat acquittal of GOA member

Robert Arwady). Plaintiff Tormey, also a GOA member, has every reason to believe ATF would

enforce its Rule against him.

        Defendants finally admit that “[p]otential future enforcement [can] amount[] to an Article

III injury,” but they dispute Tormey’s standing “on multiple fronts.” Opp. 13. Defendants are

incorrect on each. First, Defendants claim Tormey has no “‘serious intention to engage in

conduct’ that is actually ‘proscribed’ by the Rule[]” because they assert that Tormey’s conduct

definitively “does not rise to the level of being ‘engaged in the business.’” Opp. 14. But

Defendants’ nonbinding (and convenient) opinion in this litigation presents no bar to federal

prosecution generally. Moreover, Tormey has “bought, sold, and traded firearms” for “many




3
 See also U.S. Army Corps of Eng’rs v. Hawkes Co., 578 U.S. 590, 600 (2016) (“parties need not await
enforcement proceedings before challenging final agency action where such proceedings carry the risk of
‘serious criminal and civil penalties’”); Sackett v. EPA, 566 U.S. 120, 127 (2012) (plaintiff need not “wait
for the Agency to drop the hammer”).




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years” as part of his “large personal collection,” and he has “even previously purchased a table at

certain gun shows, in order to facilitate enhancing [his] collection.” Declaration of Jeffrey W.

Tormey ¶¶8, 4, 8. This is precisely the sort of conduct that falls under several of the Rule’s

presumptions, including EIB (1), (3), and PEP (ii). 4 See 89 FR 29091. Finally, Defendants claim

that “such occasional ‘purely private and non-commercial’ sales … do not qualify as being ‘engaged

in the business,’” but they cannot square their new position with the Rule’s text, which provides

that “even a single firearm transaction or offer to engage in a transaction” may suffice. Opp. 14; 89

FR 29091.

        Next, Defendants deny any “credible threat” of enforcement but discuss only the prospect

of criminal liability, Opp. 16, 16-17, a puzzling departure from the Rule’s assurances that it does

“not apply in any criminal proceedings.” 89 FR 28969. Moreover, “willful” violations also expose

people to civil liability at a much lower standard than that used in criminal cases. See, e.g., Bryan v.

United States, 524 U.S. 184, 191 (1998) (noting “in the criminal context, a ‘willful’ act is one

undertaken with a ‘bad purpose’”). Defendants then cite Tormey’s “professed uncertainty”

under the Rule as an apparent defense against willfulness. Opp. 17. But this has never been the

case, as “knowledge of the particular regulation violated is not required....” Fairmont Cash Mgmt.,

L.L.C. v. James, 858 F.3d 356, 362 (5th Cir. 2017). Dispensing with similar arguments against pre-

enforcement standing in a challenge to ATF’s “zero tolerance” FFL revocation policy, another

Texas district court recently observed that “[i]f a plaintiff can establish that it is an ‘object’ of the




4
 Even if Tormey (or anyone else) ultimately prevails defending against an enforcement action, that does
not mean he would not be harmed. Rather, “the general rule of thumb is that the ‘nonrecoverable costs of
complying with a putatively invalid regulation typically constitute irreparable harm.’” Mock v. Garland,
2023 U.S. Dist. LEXIS 178809, at *21 (N.D. Tex. Oct. 2, 2023).




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agency regulation at issue, ‘there is ordinarily little question that the action or inaction has caused

[the plaintiff ] injury, and that a judgment preventing or requiring the action will redress it.’”

Cargill v. BATFE, 2023 U.S. Dist. LEXIS 166989, at *14 (W.D. Tex. Sept. 20, 2023) (alteration in

original). As a gun owner and frequent buyer and seller, Tormey clearly is an object of the Rule

“sufficient to establish standing in this case.” Id. at *15.

    B. C.       The Organizational Plaintiffs Have Standing.

        Similarly, the organizational Plaintiffs have standing to assert the interests of their members

and supporters. Claiming “the organizational plaintiffs collectively identify only two [such

persons] with any degree of specificity,” Opp. 18, Defendants ignore those TFA and VCDL

members and supporters who have contacted their respective organizations and who “have in the

past bought and resold firearms, and wish to do so in the future without being improperly labeled

as a ‘dealer’....” Declaration of C. Richard Archie ¶10, ECF #1-3; see also Declaration of Philip Van

Cleave ¶10, ECF #1-4. As a result of the Rule, these persons now face unprecedented application

of state law covering gun dealers, in addition to zoning restrictions that will necessitate “obtain[ing]

a separate premises” for licensure. Declaration of C. Richard Archie ¶6, ECF #1-3; Declaration of

Philip Van Cleave ¶12, ECF #1-4. That VCDL, and TFA did not name names, or detail specific

conversations they have had with specific persons, does not mean that they have not communicated

with and sufficiently described how they have members who will be harmed by the Rule.

        As for GOA, Defendants acknowledge the former FFL whose retirement savings are now

frozen in unsellable inventory, but they demand the person be named. Opp. 19; see Declaration of

Erich M. Pratt ¶¶17-31, ECF #1-2. But the law on representational standing imposes no such

naming requirement, which would only expose GOA members to government scrutiny by the very

same Defendants who demand to know “the frequency of their members’ purported firearms sales;



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the number of firearms sold during those transactions; the types of firearms being sold,” and more

– perhaps for harassment, intimidation, or even prosecution.              Opp. 20.     But “[c]ompelled

disclosure of membership in an organization engaged in advocacy of particular beliefs is” an

“effective … restraint on freedom of association,” N. A. A. C. P. v. ALABAMA, 357 U.S. 449, 462

(1958), and “[a] plaintiff is not required to name names in a complaint in order to properly allege

injury in fact to its members.” Am. Civ. Rts. Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 804

(W.D. Tex. 2015); accord Disability Rts. Wis., Inc. v. Walworth County Bd. of Supervisors, 522 F.3d

796, 802 (7th Cir. 2008); Nat’l Council of La Raza v. Cegavske, 800 F.3d 1032, 1041 (9th Cir. 2015);

Speech First, Inc. v. Shrum, 92 F.4th 947, 949-50 (10th Cir. 2024); Marszalek v. Kelly, 2021 U.S. Dist.

LEXIS 107613, at *10-11 (N.D. Ill. June 9, 2021). Rather, it is enough merely to identify harmed

members and supporters, as Plaintiffs clearly have done.

        Defendants then claim GOA’s former FFL member faces no harm anyway, because (i) “the

member might dispose of their firearms at some point in the future” (but see Declaration of Erich

M. Pratt ¶22, ECF #1-2 (“this lifetime of accumulated inventory largely constitutes their

retirement”)), (ii) “ATF might deem such a disposition as being ‘engaged in the business’ under

the Rule” (but see id. ¶35 (ATF did so for Arwady)),(iii) and “the member might potentially face

civil or even criminal sanctions as a result” (but see id. – Arwady already did). Opp. 19. In other

words, “[t]he chances are not remote or speculative that ATF might pursue this GOA member for

merely doing what the law allows....” Declaration of Erich M. Pratt ¶31, ECF #1-2. 5



5
  Defendants also claim that “the Rule expressly provides that once one year has passed after the transfer
of firearms from business inventory to a personal collection” GOA’s “former licensee will generally ‘no
longer be presumed to be engaged in the business....’” Opp. 19. But the Rule simultaneously claims that,
if one purchases firearms during licensure and then sells them after licensure, that is ‘engaging in the
business.’ Compl. ¶56. That is precisely the fact pattern described regarding this GOA member.




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          Finally, although lumping standing and irreparable harm into the same title, Defendants do

not dispute irreparable harm separately, but rather attach their objections to their standing

argument. See Opp. 13-20. So, if Plaintiffs do have standing (they do), Defendants appear to

concede that harm necessarily flows from the Rule.

 II.       Venue Is Proper.

          Curiously arguing that this case does not belong in this Court, Defendants make a claim of

improper venue that is premised entirely on their claims that no plaintiff has standing. Opp. 21-22.

Indeed, Defendants apparently recognize that Plaintiff Tormey resides within this district, that

GOA and GOF have members within this district, and that it is entirely appropriate for the State

of Texas to litigate in Texas. Not to mention, VCDL and TFA have at least one member (Tormey)

in this district, and potentially others. Thus, in order to claim improper venue, Defendants first

must eliminate every plaintiff from this case. And if there is a case with no plaintiffs, determining

the appropriate venue hardly seems worthwhile. Indeed, other than objecting to venue, Defendants

do not bother to identify to where this case should be transferred. Again, that is because so long as

any of the above plaintiffs remain in this suit, venue is proper in this district.

 III.      Plaintiffs Are Likely to Succeed on the Merits.

       A. The Rule Conflicts with the Statute.

          Defendants offer a series of seven reasons why the Rule does not violate the statute. None

is persuasive.

          First, Plaintiffs explained that ATF has no authority to define statutory terms that Con-

gress expressly defined. Defendants respond that they alone get to “determine what regulations

are in fact ‘necessary’” and “here, ATF concluded that this Rule was necessary.” Opp. 23. On




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the contrary, 18 U.S.C. Section 926(a) severely limits ATF’s authority to regulate at all – a delib-

erate choice by Congress. Defendants next claim that they enacted the Rule “to provide ‘clarity’”

and that, since Plaintiffs have demanded clarity, they must accept the Rule. Id. Operating on the

principle that ‘more is better,’ Defendants posit that hundreds of pages of rulemaking must be

clearer than no rulemaking at all. Defendants claim that, “without the benefit of the Rule, Plaintiffs

would have less guidance and clarity regarding how the GCA operates, not more.” Id. This is the

sort of logic that appeals only to bureaucrats.

       Defendants also claim to have enacted the Rule to “improve public safety.” Id. But they

cite no authority for the notion that agencies are free to edit statutes at will in order to effectuate

such lofty goals. Lastly, Defendants concede Plaintiffs’ cases, which say that agencies cannot define

words that Congress already defined. Id. Defendants’ only response is that their “rule is consistent

with the GCA’s text.” Id. On the contrary, the Rule is different from the statute – of that there can

be no doubt, as the Rule adds countless words to definitions that Congress already provided. What

is different, by definition, cannot be the same.

       Second, Defendants claim that they were permitted to incomprehensibly define common

words that ordinary people can easily understand. Opp. 23-24. Defendants ignore Plaintiffs’ cases

on this point, and instead demur that the Rule was meant “to ‘clarify’” certain terms. Opp. 24.

But again, ambiguity is required for ATF to act – and Defendants never claim the statute is in any

way unclear or ambiguous. Nor can Defendants make such a claim, as the Supreme Court is abun-

dantly clear that “laws must provide explicit standards for those who apply them.” Grayned v.

City of Rockford, 408 U.S. 104, 108 (1972).




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        Indeed, Defendants’ third point undermines their second. They claim that the rule of len-

ity does not apply because the statute is not ambiguous. Opp. 24. But if there is no ambiguity, then

there was nothing for the Rule to “clarify.” Defendants cannot have it both ways.

        Fourth, Defendants object to Plaintiffs’ claim that the statute requires actual profit be de-

rived from actual purchases and actual resales. Opp. 24-26. Rejecting Plaintiffs’ “negative impli-

cation” principle (that, because no profit is required in terrorism cases, then profit must be re-

quired in other cases), Defendants opine that mere “intent” to profit is enough. Opp. 25. But in

reaching that conclusion, Defendants focus entirely on the definition in Section 921(a)(22) (defin-

ing impermissible types of profit) and ignore the definition of “engaged in the business” found in

Section 921(a)(21) – which ties profit to a course of conduct comprised of a series of activities. Id. It

would make no sense for Congress to relieve ATF of the burden to prove profit in certain cases, if

Defendants are correct that they need never prove profit in any case.

        Fifth, after claiming no profit is required (only intent), Defendants claim that “multiple

successful purchases and [re]sales of firearms” are not required. Opp. 26. Rather, Defendants

again claim that the statutory phrase – “to predominantly earn a profit through the repetitive pur-

chase and resale of firearms” – “as a whole means that” intent is enough to fulfill all its parts,




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“regardless of whether a person’s” intent “successfully results in actual sales and actual profit.”6

Id. Defendants thus transform the statute Congress enacted – which requires a series of actions

and results – into a pure intent crime, where a person does not actually have to do anything (including

ever even putting hands on a firearm).

        Curiously, Defendants admit that the first part of the statutory definition – “devotes time,

attention, and labor to dealing in firearms as a regular course of trade or business” – in fact “refers

to action, not intent.” Id. But Defendants do not explain (i) how a person can be considered “en-

gaged in the business” without ever transacting business, (ii) how a person can be “dealing in fire-

arms” without ever purchasing or reselling a firearm, or (iii) how a person can be engaged in a

“regular course of trade or business” based only on hopes and dreams. In sum, the statute that

Congress enacted has been entirely changed by the Rule.

        Sixth, responding to Plaintiffs’ criticism that the Rule’s definition of “personal collection”

as far too narrow, Defendants respond that “the phrase ‘personal collection or for a hobby’ cannot

be read to mean any firearms that a person possesses for any lawful purpose.” Opp. 28. Purporting




6
  Defendants rely on only one outlier case where no firearms were actually sold, U.S. v. KING, 735 F.3d
1098 (9th Cir. 2013). In King, the defendant, an immigrant, helped an immigrant friend obtain an FFL,
and then “misappropriated the company’s business account, using falsified documentation to set up credit
accounts and order firearms from manufacturers and wholesalers behind his purported partner’s back.”
Id. at 1102, 1106-07. But even if King supports dealing without sales, King had acquired numerous
firearms (id. at 1103) – clearly then attempting to sell them. The Rule goes further, however, saying that
neither sales nor even purchases is required. ATF’s remaining cases all involved actual sales. See, e.g.,
United States v. Valdes, 681 F. App’x 874 (11th Cir. 2017) (600 sales); United States v. Wilmoth, 636 F.2d 123
(5th Cir. 1981) (4 sales); United States v. Shan, 361 F. App’x 182 (2d Cir. 2010) (2 sales); United States v.
Murphy, 852 F.2d 1 (1st Cir. 1988) (sale of 102 rifles); United States v. Mastro, 570 F. Supp. 1388 (E.D. Pa.
1983) (“approximately three dozen” sales); United States v. Shirling, 572 F.2d 532 (5th Cir. 1978) (2 sales).




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to derive this limitation from “dictionary definitions” of “collection,” Defendants narrow “col-

lection” to nothing more than “an assembly of objects or specimens for the purposes of education,

research, or interest.” Opp. 27. But just because Defendants have found a dictionary definition

does not mean it is the best definition for the job. On the contrary, the more natural reading of

“personal collection” uses the definition Plaintiffs proposed – basically, any group of objects ac-

cumulated in one place. This, unsurprisingly, would apply to the ordinary gun owner 7 with a “col-

lection” of firearms accumulated for any purpose at all. But Defendants reject the notion that

Congress intended the statute to broadly apply and to ordinary people, instead creating a new re-

gime where the GCA’s safe harbor provision applies only to museum curators.

        Defendants claim to find further support for their narrow reading of “personal collection”

in the GCA’s definition of a collector of “curio and relic” firearms, defined as “any person who

acquires, holds, or disposes of firearms as curios or relics....” Id. But this is not the narrow lan-

guage Defendants claim. Rather, it applies to anyone who acquires a certain type of firearm. Like-

wise, a “personal collection” applies to anyone who “collects” firearms “personally” (i.e., not for

business purposes).8




7
  Disputing that the statutory safe harbor was meant to apply to ordinary people doing ordinary things,
Defendants opine that “firearms accumulated primarily for personal protection [do not] fit with … the
ordinary meaning of ‘collection’....” Opp. 28-29. Defendants promise that people may “acquire and use
firearms for self-defense,” but may not sell them under the statutory safe harbor. To be sure, Defendants
reassure “that does not mean that a person is necessarily engaged in the business of dealing when he sells a
firearm that he acquired for personal protection.” Opp. 29. Of course, the statutory safe harbor is
unambiguous that people selling firearms they acquired for self-defense definitively are not engaged in the
business.
8
  Plaintiffs also criticized the rule for lumping two separate statutory safe harbor provisions (“personal
collection or for a hobby”) into a single definition of “personal collection,” thereby watering down the
statute. MPI 22-23. Defendants do not respond to that argument.




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         Seventh, Defendants argue that the Rule is not vague because it sets forth “specific cir-

cumstances” and “specific types of conduct” that give rise to a presumption that a person either

is or is not unlawfully engaged in the business. Opp. 30. According to Defendants, these examples

are “quite clear,” and “Plaintiffs simply list provisions of the Rule with which they disagree.” Id.

But the entire point of a “presumption” is that it may be true – or it may not be true. And when

such a presumption broadly sweeps in large swaths of perfectly innocent conduct, it is impossible

to know which side of the line one is on – not to mention when multiple presumptions are involved.

Defendants finally admit as much, arguing that “even if … there could be some borderline cases

in which it might be difficult to determine how the rule applies,” that “is true of almost any statute

or rule....” Opp. 31. But Plaintiffs do not pick nits about cases at the margin, focusing on the one

percent of hard cases and ignoring the rest. Rather, the opposite is true – the Rule “presumes”

illegality in the vast majority of cases where the conduct is perfectly lawful. See ECF #7-2 at 24-

26.

      B. The Rule’s Presumptions Are Invalid on Their Face.

            1. The Statute Restricts ATF’s Authority to Establish Presumptions of
               Criminality.

         Claiming that the Rule’s presumptions “help effectuate the GCA” by accomplishing gobs

of good things (Opp. 32), Defendants point to a series of cases they claim support the broad

authority of agencies to create presumptions. None is helpful. Whereas the GCA permits ATF to

enact only regulations “necessary to carry out the provisions,” 18 U.S.C. Section 926(a), the

Supreme Court noted in Republic Aviation Corp. v. NLRB, 324 U.S. 793, 798 (1945), that Congress

had “left to the Board the work of applying the Act’s general prohibitory language in the light of

the infinite combinations of events which might be charged as violative of its terms.” Congress




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provided no similar broad grant of authority to ATF to define and apply “engaged in the business”

here.

          No matter, say Defendants, because they have the “inherent power” to create presumptions

“regardless of whether the statute explicitly addresses presumptions.” Opp. 33 (citing no authority

for this). 9 But see Holland Livestock Ranch v. United States, 714 F.2d 90, 92 (9th Cir. 1983) (a

“presumption cannot stand where it is not needed” and cautioning that “[p]resumptions should

not replace proof needlessly”). On the contrary, by claiming “general authority to promulgate

regulations to effectuate its administration of the statutes it is charged with administering,” the

Rule blatantly rewrites the express Congressional limitation on its authority found in Section

926(a).

          There is also one inconvenient truth behind Defendants’ insistence of their authority to

formulate presumptions – such administrative creations seem uniformly to rest on the application

of Chevron deference (or deference by another name). See, e.g., Idaho Mining Ass’n v. Browner, 90

F. Supp. 2d 1078, 1098-99 (D. Idaho 2000) (“the rebuttable presumption is merely an

interpretation of existing regulations and that the Court’s analysis should therefore by guided by

Chevron.”). But again, ATF has not made any explicit claim to deference here, or otherwise




9
 Similarly, in U.S. Steel Corp v. Astrue, 495 F.3d 1272, 1284 (11th Cir. 2007), the court allowed the Social
Security Administration to use a “rebuttable presumption” in response to “to the difficulty of locating
records” which “can date back fifty to sixty years....” See also USX Corp. v. Barnhart, 395 F.3d 161, 172 (3d
Cir. 2004) (same); COLE v. U.S. DEPT. OF AGRICULTURE, 33 F.3d 1263, 1269 (11th Cir. 1994) (“The
reason for the presumption is also apparent … it would be difficult for the government to trace and identify
the producer who initially sold the over-quota tobacco.”). No similar impossibility exists here, as neither
ATF nor the courts have had any difficulty applying the statute for many decades without any
presumptions at all. See Compl. ¶37 (“ATF declined to add examples” in 1988, stating “the definition
adequately addresses this concern....”). ATF’s sudden reversal – at the President’s behest – is by
definition ‘capricious.’




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claimed the statute to be ambiguous and in need of presumptions in order to apply it. Indeed, to

the extent that Defendants were to make such a claim to deference, it would not hold water, because

the “engaged in the business” statute is one that carries criminal penalties. See Abramski v. United

States, 573 U.S. 169, 191 (2014) (“criminal laws are for courts, not for the Government, to construe.

We think ATF’s old position no more relevant than its current one – which is to say, not relevant

at all.”); United States v. Apel, 571 U.S. 359, 369 (2014) (“we have never held that the Government’s

reading of a criminal statute is entitled to any deference.”); HollyFrontier Cheyenne Refinery, LLC

v. Renewabler Fuels Ass’n, 141 S. Ct. 2172, 2180 (2021) (“the government does not … ask [for

deference] here.... We therefore decline to consider whether any deference might be due....”).

       Although acknowledging that being “engaged in the business” requires a “fact-specific

inquiry considering the totality of the circumstances” – i.e., not something easily determined by

reliance on a single presumption based on a single fact – Defendants claim that the Rule somehow

requires consideration of “the totality of the circumstances, including the presumptions and any

rebuttal evidence.” Opp. 34. On the contrary, the Rule’s presumptions – by design and intent –

permit a person to be assumed to be deemed unlawfully dealing based on meeting any one of ATF’s

arbitrary criteria (and nothing more). Such presumptions are the antithesis of a “totality of the

circumstances” review – by definition, they represent a shortcut around such review.

       Claiming that Plaintiffs may not even dispute ATF’s authority to create presumptions,

Defendants assert that the only challenge Plaintiffs may levy is “‘the heavy burden of

demonstrating that there is no rational connection between the fact proved and the ultimate fact to

be presumed.’” Opp. 33 (citation omitted). And, opining that “none of the presumptions suffers

from a failure of explanation,” Defendants assert that each of them is “either supported by case




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law … or other evidence demonstrating that a rational nexus exists.” Id. But as Plaintiffs explained,

merely because another court once found a certain fact to be relevant (during a totality of the

circumstances review in a particular case) does not give ATF carte blanche to hone in on that factor

as alone creating a presumption of illegality, with nothing more.

       As the Fifth Circuit has held, even if permissible, “presumptions in the law result when

‘proof of one fact renders the existence of another fact so probable that it is sensible and timesaving

to assume the truth of the inferred fact....’” Career Colls. & Sch. of Tex. v. United States Dep’t of

Educ., 98 F.4th 220, 250 (5th Cir. 2024). Although Defendants claim the Rule’s presumptions are

“common sense, confirmed by decades of ATF’s enforcement experience” (Opp. 34), this is

nothing more than the “ipse dixit” that the Fifth Circuit prohibits. 98 F.4th at 251.

           2. The EIB Presumptions Are Unlawful.

       Defendants’ naked appeal to “common sense” does not a reasoned decisionmaking process

make. For starters, many of the presumptions directly conflict with the statute they purport to

implement. See Compl. ¶¶102-09; MPI 26-33. Additionally, many of the Rule’s presumptions do

not meet the Fifth Circuit’s standard above – i.e., they sweep in far more lawful conduct than

unlawful, meaning it cannot possibly be the case that the existence of facts to prove one of ATF’s

presumptions “renders the existence of [unlawful dealing] so probable that it is sensible and

timesaving to assume [its] truth....” Career Colls. & Sch. of Tex., 98 F.4th at 250.

       Defendants respond first that the Rule’s presumptions do not violate the statute. Opp. 35-

36. Again, disputing that “the statute requires actual sales,” Defendants opine that, either way, the

“presumption does not render the specified conduct a violation … but rather presumes” a violation

“pending reliable evidence to the contrary.” Opp. 36. But the opportunity to defend oneself is no

answer. Plaintiffs do not seek the right to defend themselves from an improper charge – they want



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never to be improperly charged in the first place.

       Second, Defendants seek to rehabilitate the presumption of dealing if a person “resell[s]

firearms within 30 days of purchase....” Op. 36. Defendants’ only justification for this presumption

is that “many firearms sellers allow returns within 30 days....” Op. 37. Yet even the NPRM

acknowledged that “many” retailers allow no returns on firearms, while only “some” do. 88 Fed.

Reg. 62003 n.80. Indeed, Plaintiff GOA’s comments further explained how most gun sellers do

not allow returns, giving examples. ECF #16-1 at 40. Don’t worry, say Defendants, because again,

anyone charged with this presumption “may present … rebuttal evidence....” Opp. 37. As noted

above, this is no answer.

       Defendants also defend the Rule’s new-in-box presumption, claiming it does not create a

“presumption, within a safe harbor, within a presumption, within a statute.” Opp. 37; ECF #7-2 at

24. Rather, Defendants say, if a person “intentionally” evades the statute, but waits a year in doing

so, the presumption does not apply at all and “the factfinder would [need to] consider all the

relevant facts. Opp. 37. In other words, under the Rule, the clear law-breaker falls outside the

presumption, while the innocent gun owner who loses his job and sells a few new guns to pay the

mortgage is presumed a felon and must defend himself. It would seem that the Rule’s absurdity

continues to grow.

           3. The PEP Presumptions Are Unlawful.

       Again disputing that the statute requires no actual profit (only intent), Defendants claim

that their PEP presumptions are both lawful and “sensible.” Opp. 37-40. First, Defendants deny

that the Rule takes the explicit statutory safe harbor, and waters it down into the mere opportunity

to defend oneself. Defendants claim that “Plaintiffs misapprehend the structure of the statute” –

but then make Plaintiffs’ point for them – pointing out that, although the statute says that unlawful



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dealing definitively “shall not include” certain conduct, the Rule instead allows that “evidence of

such conduct can rebut the presumptions.” Opp. 38 (emphasis added). But again, the statutory

safe harbor does not require a person to provide “evidence” to prove his innocence. Rather, it

declares unequivocally that he is not breaking the law.

       Next, Defendants callously concede that the Rule’s purportedly “common-sense” PEP

presumptions “may capture some individuals” who are engaged in perfectly lawful activity, but

demur “that is why the presumptions are rebuttable.” Opp. 38. But again, it is no answer to say

that any errors at the outset may be corrected on the back end (that is, if a person is able to assemble

and present evidence to prove his innocence).

       Finally, Defendants object for two additional reasons, largely on the theory that the PEP

presumptions are “common-sense,” that they will not sweep up as much lawful activity as Plaintiffs

claim, and that either way, innocent people will be offered the opportunity to prove their innocence.

Opp. 39-40. Each of these arguments has been addressed above.

           4. The Rule’s “Not Presumed” Language Waters Down the Statute.

       Disputing that the Rule waters down the statutory safe harbor language, Defendants claim

that “the Rule tracks the statute exactly....” Opp. 40-41. But Defendants then concede that the

Rule also “added conduct that satisfies this statutory exclusion as conduct that cannot be presumed

to be engaged in the business.” Opp. 41. In other words, by “add[ing]” language, the Rule does

more than “track the statute exactly.”

       Indeed, whereas the statute offers clear protection – i.e., ‘if you do this, you conclusively

are not a dealer’ – the Rule waters this down to “conduct that cannot be presumed” – i.e., ‘if you

do this, we won’t assume you’re dealing – but you may still be.’ Defendants offer no cognizable

theory as to why the Rule’s “not presumed” language is helpful, when the statute already provides



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far more robust protection through its safe harbor language.

     C. The Rule’s Provisions for “Former Licensees” Violate the Statute.

        Defendants’ insistence that the statute permits regulation of so-called “former licensees”

is incoherent. Unable to cite any statute for the creation of such a class of individuals, Defendants

simply assert that “former licensees are an inherent feature of the GCA’s licensing scheme.” Opp.

41. But in the same breath, Defendants then concede that “a former licensee is [governed] in the

same ways and to the same extent as anyone else who is not currently licensed.” Id. (emphasis added). In

other words, any distinction between ‘former licensees’ and ‘ordinary people’ is something that

the Rule contrives out of whole cloth. 10 Accordingly, Defendants’ suggestion that “the Rule

actually … provide[s] [former licensees] with a way to dispose of their inventory lawfully” is

nothing short of bureaucratic paternalism. Id. “Former licensees” can do all that non-licensees do

– without the need for a Rule no one asked for, which provides additional limitations, not greater

freedoms.

        Defendants then advance three reasons why their statutory revisionism should survive.

None is availing.      First, Defendants claim their one-year rule is permissible because it is

“reasonable” to assume a former licensee attempting to sell their remaining inventory must be

“engaged in the business.” Opp. 42. But see Declaration of Erich M. Pratt ¶22, ECF #1-2 (“This

member reports that this lifetime of accumulated inventory largely constitutes their retirement.”).

On the contrary, it is no more “reasonable” to presume a former licensee is breaking the law than




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  In a now-common refrain, Defendants accuse Plaintiffs of “misunderstand[ing]” the Rule, only to admit
that what Plaintiffs say is technically true. Opp. 35, 38, 42. Of course, as another judge in this district has
noted, “[t]echnically correct is the best kind of correct….” Lane v. United States, 612 F. Supp. 3d 659, 666
(N.D.T.X. 2020).




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any other unlicensed person. Left without any statute authorizing their latest edict, Defendants

simply demur that “[t]he rational nexus supporting this presumption is based on ATF’s common-

sense interpretation of the GCA.” Opp. 42. But as Plaintiffs already explained, statutory

revisionism is anything but “common-sense.”

       Second, Defendants defend their effective sales ban on ‘willful evaders’ by citing nothing

more than their own opinions that the Rule is “manifestly sensible,” “patently clear,” and yet

another “common-sense interpretation.”         Opp. 43.     But absent statutory text authorizing

Defendants’ action, a thesaurus cannot save the Rule.

       Third, Defendants claim Plaintiffs’ observation that firearms never transferred to business

inventory “remain forever in purgatory” is “inaccurate,” but their only defense is the atextual 30-

day transfer window created by the Rule. Opp. 43. Plus, it would seem that, outside this window,

Plaintiffs’ concerns are vindicated, and certain firearms may never be transferred. Finally, Defendants

dispute that “[p]urchasing inventory while licensed does not in any sense ‘serve as a predicate

offense for a charge of unlicensed dealing,’” but that is exactly what the Rule states. See 89 Fed.

Reg. 29051 (“Because this inventory consists of firearms repetitively purchased for resale with

predominant intent to profit, it was clearly purchased as part of a regular course of business or

trade.”), 29090 (“they were purchased repetitively before the license was terminated as part of a

licensee’s business inventory with the predominant intent to earn a profit.”).

 IV.    The Rule Violates the Second Amendment.

       Requiring licensure for incidental, private transactions in firearms would violate the Second

Amendment. Courts routinely hold that the exercise of the right to keep and bear arms necessarily

requires the incidental acquisition and disposition of firearms. The Rule expands “engaging in the

business” so broadly that it essentially requires a license for ordinary persons doing ordinary things



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merely to exercise their Second Amendment rights, thereby infringing a right that “shall not be

infringed.” While the Second Amendment explicitly protects the right to “keep and bear arms,”

the only way to exercise the right “is to get one, either through sale, rental, or gift,” Maryland Shall

Issue, Inc. v. Moore, 86 F.4th 1038, 1043 (4th Cir. 2023), or through private manufacture. Therefore,

if a person’s ability to acquire and dispose of firearms is restricted, that person’s right to keep and

bear arms is hindered – i.e., infringed. See id. at 1044 n.8.

As the Supreme Court has recently explained, “when the Second Amendment’s plain text covers

an individual’s conduct, the Constitution presumptively protects that conduct. To justify its

regulation, … the government must demonstrate that the regulation is consistent with this Nation’s

historical tradition of firearm regulation.” N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111,

2126 (2022). No such historical showing can be made here.

        ATF’s opposition seeks historical analogues in all the wrong places. See ECF No. 31 at 46–

47; n.31. Contrary to Defendants’ claim of historical similarity, in 1794, Congress temporarily

restricted the export of arms and matériel in order to enhance the arming of America, at a time when

war with Great Britain loomed. Likewise, the colonies restricted arms trade with Indians to reduce

the threat from hostile tribes. As for Massachusetts’ barrel proving law, this was a product quality-

control measure. And the various laws concerning gunpowder were enacted to prevent widespread

fire damage to cities caused by volatile, rudimentary compounds no longer in widespread

use. None of these laws parallels the "how" and the "why" of the Rule’s radical expansion of the

GCA’s licensing requirement. Bruen, 597 U.S. at 29.

        To be sure, the Supreme Court said in Heller that “nothing in our opinion should be taken

to cast doubt on longstanding ... laws imposing conditions and qualifications on the commercial




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sale of arms,” which are “presumptively lawful regulatory measures.” District of Columbia v.

Heller, 554 U.S. 570, 626-27 (2008). But this language in Heller was dicta, and it does not even

apply in the non-commercial context. Rather, if anything, by singling out conditions on the

commercial sale of arms, this language in Heller indicates that conditions on non-commercial sales

of firearms are constitutionally suspect. Nor are dealer licensing laws a “longstanding” type of

statute, but instead largely arose in the 20th century and cannot form a early national tradition

under Bruen’s stringent standard.

 V.     The Rule Violates the Fourth Amendment.

 Defendants attack Plaintiffs’ standing to challenge the Rule on Fourth Amendment grounds,

noting that “nothing in Tormey’s declaration indicates that he intends to seek a federal firearms

license.” ECF No. 31 at 62. On the other hand, if Mr. Tormey would like to engage in the same

activities as he has for years, licensure is his only option. Yet the Rule presents him with the

Hobson’s choice of foregoing exercising his Second Amendment rights, or obtaining an FFL and

being subject to warrantless invasions of his home (a Fourth Amendment violation). Yet it is

axiomatic that one constitutional right cannot be conditioned on another. Moreover, if Mr. Tormey

continues his current activity, and does not obtain a license, he could be criminally charged—which

would also involve government intrusion into his home. Beyond Tormey’s obvious standing, it is

likely that several GOA and VCDL members and supporters will be forced to become licensed to

continue carrying on with their lives. Indeed, the organizational Plaintiffs’ declarations directly

anticipate, assume, and allege that numerous of their members will become licensed. See generally

Dec. of Erich Pratt ¶ 14; Dec. of Philip Van Cleave ¶¶ 5,6; see also ¶ 11 (“once licensed as dealers”);

¶ 13 (same).

       Rather than engage with Plaintiffs’ argument about the “heavily regulated industry”



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exception to the Fourth Amendment’s warrant requirement, Defendants simply allege that the

exemption exists. Opp. 48-49. But Plaintiffs never disputed that. Rather, their argument is that,

if the Rule is permitted to force hundreds of thousands (or potentially more) Americans to become

federally licensed dealers merely to engage in protected Second Amendment activity, this

“narrow” Fourth Amendment “exception” would swallow the rule. To the extent the Rule seeks

to make dealers out of countless ordinary Americans, it cannot be sustained by any Fourth

Amendment exception, and thus violates the warrant requirement.



 VI.        Relief Should Not be Limited to the Parties.

        This Court should stay enforcement of the Final Rule nationwide pending a decision on the

merits. The APA allows a reviewing court to “hold unlawful and set aside agency action.” 5 U.S.C.

§ 706(2). “‘When a reviewing court determines that agency regulations are unlawful, the ordinary

result is that the rules are vacated—not that their application to the individual petitioners is

proscribed.’” Nat’l Min. Ass’n v. U.S. Army Corps of Engineers, 145 F.3d 1399, 1409 (D.C. Cir. 1998)

(quoting Harmon v. Thornburgh, 878 F.2d 484, 495 n. 21 (D.C.Cir.1989)); see also Barr v. Am. Ass’n

of Pol. Consultants, Inc., 140 S. Ct. 2335, 2351 (2020) (explaining that, when “a provision is declared

invalid,” it “cannot be lawfully enforced against others”).

        Motions to stay agency actions are reviewed under the same standards used to review

requests for preliminary injunctive relief. Affinity Healthcare Servs., Inc. v. Sebelius, 720 F. Supp. 2d

12, 15 n.4 (D.D.C. 2010) (citing 5 U.S.C. § 705); see also Texas v. EPA, 829 F.3d 405, 435 (5th Cir.

2016) (granting stay of agency action under 5 U.S.C. § 705 and applying preliminary injunction

factors).

        Under Section 705, a court “may issue all necessary and appropriate process to postpone



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the effective date of an agency action or to preserve status or rights pending conclusion of the

review proceeding.” 5 U.S.C. § 705. “Nothing in the text of Section 705” suggests that preliminary

relief “needs to be limited to” the parties before the court. Career Colleges & Sch. of Tex. v. U.S.

Dep’t of Educ., 98 F.4th 220, 255 (5th Cir. 2024).

        To be sure, relief under Section 705 is different than the relief sought in a “nationwide

injunction.” While “[a] stay [of an agency action] pending appeal certainly has some functional

overlap with an injunction, particularly a preliminary one … [due to both having] the practical effect

of preventing some action before the legality of that action has been conclusively determined,”

Nken v. Holder, 556 U.S. 418, 428 (2009), “a stay achieves this result by temporarily suspending

the source of authority to act—the order or judgment in question—not by directing an actor’s

conduct.” Id. at 428–29.

        “In the same way that a preliminary injunction is the temporary form of a permanent

injunction, a stay [under section 705] is the temporary form of vacatur.” All. for Hippocratic Med. v.

U.S. Food & Drug Admin., 78 F.4th 210, 254 (5th Cir. 2023). “Under 5 U.S.C. § 705, [courts] may,

under ‘certain conditions[,] ... and to the extent necessary to prevent irreparable injury, ... issue all

necessary and appropriate process to postpone the effective date of an agency action or to preserve

status or rights pending conclusion of the review proceedings.” Wages & White Lion Invs., L.L.C. v.

FDA, 16 F.4th 1130, 1143 (5th Cir. 2021) (quoting 5 U.S.C. § 705).

That is the relief Plaintiffs seek here. The Rule cannot be salvaged and should be stayed in its

entirety—which this Court has the express authority to do. See 5 U.S.C. § 705; see also Jonathan

Mitchell, The Writ-of-Erasure Fallacy, 104 Va. L. Rev. 933, 1014 (2018) (“[T]he APA does give the

judiciary a unique power that it lacks when reviewing the constitutionality of statutes: Reviewing




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courts may formally vacate an agency’s rule or order, rather than merely enjoining officials from

enforcing it.”).

 VII.    The Balance of Equities Favors a Stay.

        This novel rule presents a stark departure from the longstanding status quo that more fully

protected Second Amendment rights. Until now, Defendants adopted the Congressional

definitions of terms such as “engaged in the business” rather than attempting to expand those

definitions beyond what Congress already included. See 27 C.F.R. § 478. That makes sense. Federal

law limits Defendants’ authority to draft rules and regulations to only those that “are necessary to

carry out provisions of this chapter.” 18 U.S.C. § 926(a). And Congress was explicit in what they

allowed Defendants to define. See 18 U.S.C. § 921(a)(13). That is why the definitions Defendants

previously adopted for 18 U.S.C. § 921(a)(21)(C) precisely mirrored what Congress wrote. See 27

C.F.R. § 478.

        There is no harm to ATF in being prevented from enforcing an illegal rule, and there is no

public interest in violating Second Amendment rights.



                                          CONCLUSION

        For these reasons, Plaintiffs ask this Court to stay ATF’s Rule under 5 U.S.C. § 705.




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 Date: May 15, 2024                            Respectfully submitted.

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                                     CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on May 15, 2024 and that all parties will be served with the Original Complaint via

certified mail and process server.

                                            /s/Garrrett Greene
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